                                                                    JS-6



                     UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA
                           WESTERN DIVISION



JOSEPH LEE TOWNSEND,                   No. CV 20-06446-SVW (DFM)

        Plaintiff,                     JUDGMENT

           v.

ALEX VILLANUEVA et al.,

        Defendants.



    Pursuant to the Order Dismissing Action for Failure to Prosecute,
    IT IS ADJUDGED that this action is dismissed without prejudice.



Date:   October 21, 2020                ___________________________
                                        STEPHEN V. WILSON
                                        United States District Judge
